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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x
In re
                                                               CASE NO. 19-13103

Maritza Acosta Rosario

                                                               CHAPTER 13
                                   Debtor.

-------------------------------------------------------x

                                      CERTIFICATE OF SERVICE

        I, Cynthia Narea, being duly sworn state as follows:

        1. I am over 18 years of age and not a party to this case.

       2. On June 23, 2020, I served by regular mail a copy of the Debtor’s Chapter 13 Plan
and Loss Mitigation Order to the parties in the annexed document.

       I hereby certify that the foregoing statements made by me are true to the best of my
knowledge and belief. I am fully aware that if any of the foregoing statements are willfully false,
I am subject to punishment.


Dated: June 23, 2020
       Queens, New York
                                                                     /s/Cynthia Narea
                                                                     Cynthia Narea
                                                                     Paralegal
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                                     MAILING MATRIX


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